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 5   ed@hlawnv.com
     patrick@hlawnv.com
 6   Proposed Attorneys for Debtor,
     Afrayed End Productions, Ltd.
 7

 8                              UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEVADA
 9

10    In re:                                           Case No.: BK-N-20-51050-BTB
                                                       Chapter 11
11    AFRAYED END PRODUCTIONS,
      LTD.                                             EX PARTE APPLICATION TO
12
                                                       EMPLOY BUSINESS BROKER
                           Debtor.
13

14
     TO THE HONORABLE BRUCE T. BEESLEY, UNITED STATES BANKRUPTCY JUDGE:
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                Afrayed End Productions, Ltd. (“Debtor”), files this Ex Parte Application to Employ
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     Business Broker and, in support of the Application, respectfully states:
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               1.   Debtor operates the St. James Infirmary bar out of leased premises at 445 California
18
     Avenue in Reno (“Infirmary”). The Infirmary has been shut down since the onset of the COVID-
19
     19 pandemic.
20
               2.   Debtor filed a voluntary petition under Chapter 11 of the United States Bankruptcy
21
     Code on November 17, 2020, commencing the above captioned bankruptcy case (“Bankruptcy
22
     Case”). See ECF No. 1.
23
               3.   The Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D) and is a
24
     debtor as defined in 11 U.S.C. § 1182(1) and made a Subchapter V election in its Petition. See
25
     ECF No. 1.
26
               Pre-Petition Broker Agreement
27
               4.   The Debtor entered into a pre-petition Representation Agreement with M&A
28
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 1   Business Advisors, Nevada (“MABA”), under Broker Katrina Loftin (“Pre-Petition Broker

 2   Agreement”).

 3          5.   Under the Pre-Petition Broker Agreement, MABA secured a well-qualified buyer for

 4   the Infirmary in the middle of September 2020. However, as of October 28, 2020, the landlord

 5   had not consented to the requested lease assignment and the original purchaser cancelled the deal.

 6          6.   Two weeks later, the landlord sent the Debtor a three-day lockout notice.

 7          7.   The Debtor disputed the stated reasons for the lockout notice and further asserted the

 8   landlord’s refusal to accept a lease assignment was itself a material breach of the lease—as the

 9   express terms of the lease prohibit the landlord from unreasonably withholding assignment.

10          8.   Discussions between the parties faltered and the lockout loomed, precipitating the

11   Debtor’s bankruptcy filing.

12          The New Broker Agreement.

13          9.   MABA located a new well qualified buyer (“New Buyer”) for the Infirmary and

14   presented an offer to the Debtor on November 18, 2020. At that time, MABA was not aware of

15   the Debtor’s bankruptcy filing the day before.

16          10. On November 25, 2020, the Debtor entered an LOI with the New Buyer at a purchase

17   price that would most likely satisfy the Debtor’s pre-petition creditors in full.

18          11. Debtor would like to recognize MABA’s services and employ MABA post-Petition

19   to consummate the purchase and sale of the Infirmary under a new/restated Representation

20   Agreement, a proposed copy of which is attached as Exhibit “1” (“New Broker Agreement”).

21          12. The key terms of the New Broker Agreement are as follows:

22               a. MABA is given the exclusive right to sell the Debtor’s assets during the 12-month

23                  term stated in the agreement. See Exhibit 1 at ¶ 6.

24               b. The listing price for Debtor is $200,000. See Exhibit 1 at p. 1, Total Listing Price.

25               c. MABA’s Broker Fee is 10% of the sale/disposition price and is subject to ultimate

26                  Court approval. See Exhibit 1 at p.1, ¶ 1 and “Additional Terms”. “Disposition”

27                  under the New Broker Agreement includes the sale, merger, or transfer of all or

28

                                                       2
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 1                   any part of the Debtor’s assets, including through a plan of reorganization. See

 2                   Exhibit 1 at ¶ 6.

 3                d. MABA would act in a dual agent capacity for both the Debtor and buyer, with

 4                   different agents from MABA representing each. See Exhibit 1 at ¶ 6 and attached

 5                   Confirmation Regarding Real Estate Relationship.1

 6                e. The terms of the New Broker Agreement and any sale or disposition of the

 7                   Debtor’s assets are subject to Bankruptcy Court approval. See Exhibit 1 at p. 1, ¶

 8                   1.

 9           13. The Debtor submits that the services MABA has provided and will continue to render

10   under the New Broker Agreement are needed and are in the best interest of the Debtor and its

11   creditors.

12           14. The Debtor is seeking approval to enter into the New Broker Agreement on a nunc

13   pro tunc basis as of the Petition Date of November 17, 2020.2

14           15. This Application is made under 11 U.S.C. §§ 327(a) and 328 and is supported by the

15   Declaration of Katrina Loftin, CBI, M&AMI, MABA’s Managing Partner and Co-Founder (the

16   “Loftin Declaration”), attached as Exhibit “2”.

17           16. As set forth in the Loftin Declaration, MABA does not hold or represent any

18   impermissible interest adverse to the Estate and is a disinterested person under 11 U.S.C. §

19   101(14). In this, although a dual agency (in the form of two agents under the same broker) is

20   contemplated under the New Broker Agreement, separate agents will be respectively representing

21

22
     1
       Dual agency by the same agent is permitted upon full disclosure and consent under Nevada law. See
23   NRS 645.252(1)(d). Further, if the broker designates different agents to separate parties in the
     transaction, written consent is not required and neither agent is permitted to disclose confidential
24   information. See NRS 645.253.
     2
       Alternatively, the Debtor submits that assumption of the Pre-Petition Broker Agreement is appropriate,
25
     as MABA has secured a new buyer for the business during the term of the original agreement. Further,
26   the Pre-Petition Broker Agreement and New Broker Agreement are on similar terms—and the fee would
     be identical under each assuming a $200,000 sale. The New Broker Agreement clarifies issues such as
27   any sale being subject to Bankruptcy Court approval, establishes a set Broker Fee of 10% of the sale
     price, and ensures that while a dual-agency would technically exist, two separate agents would
28   respectively represent the Debtor and buyer.


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 1   the Debtor and buyer.

 2          17. To the best of the Debtor’s knowledge, other than as set forth above, MABA and the

 3   agents working on the transaction have no connection with the Debtor, creditors, or any other

 4   party in interest, their respective attorneys and accountants, the United States Trustee or any

 5   person employed in the office of the United States Trustee.

 6          18. MABA is aware of the provisions of 11 U.S.C. §§ 327, 328, and 330 and has

 7   acknowledged that, notwithstanding the terms and conditions set forth herein, the Court may

 8   allow compensation different from the compensation provided in the New Broker Agreement if

 9   such terms and conditions prove to have been improvident in light of developments not capable

10   of being anticipated at the time of this Application. See 11 U.S.C. § 328(a).

11           WHEREFORE, the Debtor seeks an Order authorizing the employment of MABA on

12   the terms and conditions and for the purposes set forth above.

13          DATED: December 3, 2020.
14
                                                         HUMPHREY LAW PLLC
15

16                                                       By: /s/ L. Edward Humphrey
                                                         L. Edward Humphrey, Esq.
17
                                                         Patrick O’Rourke
18                                                       Proposed Attorneys for Debtor,
                                                         Afrayed End Productions, Ltd.
19

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                     EXHIBIT “1”




                     EXHIBIT “1”
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                                     REPRESENTATION AGREEMENT

Business Type:Bar & Lounge                                     Total Listing Price $200,000
Business Name:St. James Infirnary                              Listing Payable as Follows:
Phone:323-309-0799                                             - Down Payment $10,000
Fax:                                                           - Total Liabilities to be Assumed $0
Address:445 California Ave                                     Note to Seller payable at $0 per month for 0 months
City, State Zip:Reno, NV 89509                                 including n/a% interest. Note to be Secured by assets
Website:                                                       of business subordinate to any third party financing.
Seller(s):Afrayed End Productions, LTD
   LLC C-Corp S-Corp Sole Prop                                 CURRENT ASSETS INCLUDED IN LISTED
                                                               PRICE
Owner: Arthur Farley                                           Cash $0
Home Address:316 California #33                                Inventory (at cost) $All inventory on hand
City, State, Zip: Reno NV 89509                                Accounts Receivable $0
Phone:775-420-3500                                             Other Current Assets $0
Email:ed@hlaawnv.com                                           Total Current Assets Included $0
Owner:
Home          Address:                                         LIABILITIES TO BE ASSUMED BY BUYER
City,    State,    Zip:                                        Accounts Payable $0
Phone:                                                         Assumable Leases $0
Email:                                                         Total Liabilities to be Assumed $0

Seller will not compete against Buyer for 5 years from close of escrow within     5 mile radius of the present
location of the business or   within        .

All assets of the business are included except: None
Additional Terms: This Representation Agreement and any sale or disposition hereunder are subject to approval by the
United States Bankruptcy Court, District of Nevada (Case No.20-51050-BTB) (“Bankruptcy Case”).

   1. Engagement of Broker. Seller grants M&A Business Advisors (Broker) the sole and exclusive right to dispose
      of the Business beginning on November 17, 2020,and ending at 11:59 p.m. on the Termination Date (the
      “Exclusive Period”). The term of this agreement is for an initial period of twelve months. With respect to the
      Broker’s fee (“Broker’s Fee”), Seller agrees to pay Broker a fee in the amount of ten percent (10%) of any sale
      or Disposition price during Exclusive Period. Broker agrees to make reasonable efforts to procure and
      consummate the sale of Seller’s assets as contemplated herein.

   2. Disposition of Business. As used in this Agreement, “Disposition” of the Business includes the sale, merger,
      exchange or transfer of all or any part of or interest in the Business except for assets sold in the ordinary
      course of business. Disposition also includes any qualifying transaction completed in the Bankruptcy Case.
      This definition includes, without limitation the transfer or sale of some or all of the stock of a corporation or
      sale of its assets. If the sale of an ownership interest (e.g. corporate stock, partnership shares or LLC member
      interest), “Seller” means the owner of that interest.
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   3. Purchase Price. For purposes of this Agreement, the ‘Purchase Price’ is defined as the total consideration paid
      directly or indirectly for the Business or its assets including but not limited to cash; cash equivalents; notes made
      to Seller or others

   4. Broker’s Fee. Seller agrees that the Broker’s Fee shall be paid by the Seller upon any disposition of the business
      whether made by the Broker, Seller or anyone else during the term of this Agreement and any extension thereof.
      To the extent of the Broker’s Fee.

   5. Business Information. Within 30 calendar days of Signing, Seller will provide the Broker the following:
      a. Complete lists of all equipment and other assets to be included or excluded in the sale;
      b. Profit and loss statements, balance sheets, and tax returns of the Business covering the last three years;
      c. The most recent interim profit and loss statement, balance sheet, and sales tax returns;
      d. Real and personal property leases;
      e. A completed Seller’s Disclosure Statement;
      f. Copies of all patents, licenses, loan documents, contracts or agreements of whatever form;
      g. All agreements relating to employee benefits;
      h. Any environmental reports; and
      i. Copies of all other documents needed to present a fair and accurate description of the Business to prospective
          buyers.
      Seller will provide monthly updates of each such document during the period of this Agreement where
      any material change has occurred. Seller consents to Broker publishing, advertising or distributing
      information about the Business to prospective buyers and to cooperating brokers and contacting landlords and
      any others regarding any of the information about the Business. Seller will be responsible to Broker for
      any fee lost by Broker resulting from any material misrepresentations or omissions by Seller of any
      information relevant to the Business or its transferability.

   6. Agency. Seller acknowledges having received and read the Duties Owed and Consent to Act Disclosure form.
      Seller understands and agrees that Broker may act as an agent representing both Buyer and Seller.

   7. Seller Warranties. Seller warrants that a.) all information relating to the Business which has been or will be
      provided to the Broker or prospective buyers by the Seller or Seller’s agents is complete and accurate, b.) Seller
      has disclosed, or will promptly disclose all material facts relating to the Business which might reasonably
      influence a buyer’s decision to purchase and the amount a buyer is willing to pay, and c.) Broker may rely upon
      the accuracy of any such information without independent investigation. Seller agrees to promptly notify Broker
      any material changes which might affect the operation or value of the Business.

   8. Leases and Contracts. Seller agrees to transfer all assignable leases and other contracts under which the
      business assets are held and to use best efforts to obtain any necessary third party consents or approval in the
      Bankruptcy Case. Seller acknowledges that Seller may remain liable on such agreements after transfer, unless
      released by lessor or other contracting party.

   9. Referral of Buyers. Seller agrees to refer to Broker any prospective buyer with whom Seller has or has had
      discussions regarding the sale of the Business during or prior to the exclusive period.

   10. No Conflicts. Seller warrants that there are no representation or other agreements in force relating to Disposition
       of the Business other than with Broker.




                                                                                              Seller      Seller
Page 2
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   11. Credit Decision. Seller acknowledges that Broker makes no representation as to the creditworthiness of any
       buyer or the content of any credit report. Broker will not verify any representations made by buyer as to
       buyer’s creditworthiness, business experience or financial condition. Broker shall not be required to furnish
       credit reports on any buyer. Seller agrees to look only to buyer for relief.

   12. Mediation of Disputes. As a condition precedent to initiation of any legal action or arbitration proceeding by
       either party. Seller and Broker shall mediate any dispute or claim between them arising out of this Agreement
       or any resulting relationship or transaction between such parties. Either party may demand mediation by notice
       to the other party, which notice shall state the nature of the dispute to be resolved. From the date such notice is
       given, the parties shall agree upon a mediator not later than the tenth business day thereafter. If the parties cannot
       agree upon a mediator, the matter shall be submitted to the American Arbitration Association (“AAA”) for
       appointment of a mediator and to conduct the mediation. Mediation shall occur in the county in which the
       Seller’s Broker’s office is located. The parties all have 45 days from the selection of the mediator to commence
       the first mediation session. The parties shall share all mediation costs equally. The parties agree that any
       mediated settlement agreement may be converted to an arbitration award or judgement (or both) and enforced
       according to the governing rules of civil procedure. Should either party fail to participate in a timely manner and
       in good faith in the selection process for the mediator or in the mediation process, such party will be deemed to
       have refused mediation, thus excusing the condition and that party shall not be entitled to attorney fees that
       might otherwise be available to it in any subsequent court action or arbitration.

   13. Advertisement of Sale. Seller agrees that after the closing Broker may advertise its role in the sale of the
       Business.

   14. Entire Agreement; Amendment; Integration; Severability. This agreement contains all the terms agreed to
       by the parties relating to its subject matter. It replaces all previous discussions, understandings, and agreements.
       Any change to this Agreement must be in writing and signed by each party affected by such change. If any
       provision herein is found to be unenforceable, it shall be modified to the minimum extent necessary to permit
       its enforceability, and the remainder of the Agreement shall remain in full force and effect. Any ambiguity
       herein shall be resolved by the Bankruptcy Court during the pendency of the Bankruptcy Case.

   15. Governing Law; Attorneys’ Fees; Venue. This Agreement shall be governed by the Bankruptcy Code and
       the laws of the State of Nevada. If legal action or arbitration is instituted to enforce this Agreement, the
       prevailing party shall be entitled to recover reasonable attorney’s fees, expert fees and costs, as approved by the
       Bankruptcy Court or other deciding body. Venue shall be the county in which the Seller’s Broker’s office is
       located.

   16. Captions. All captions and headings are for convenience and reference purposes only and shall not limit or
       expand provisions of this Agreement.

NO REPRESENTATION IS MADE AS TO THE LEGAL VALIDITY OR ADEQUACY OF ANY PROVISION IN
THIS FORM IN ANY SPECIFIC TRANSACTION. THE BROKER IS NOT QUALIFIED TO GIVE
ACCOUNTING, LEGAL, OR TAX ADVICE. FOR SUCH ADVICE, SELLER SHOULD CONSULT AND
APPROPRIATE PROFESSIONAL. THE UNDERSIGNED ACKNOWLEDGES READING AND
UNDERSTADNING THE TERMS AND CONDITIONS ABOVE IF SELLER IS A PARTNERSHIP,
CORPORATION, LLC OR OTHER ENTITY, THE PERSON SIGNING BELOW ON BEHALF OF SUCH
ENTITY REPRESENTS AND WARRANTS THAT HE OR SHE HAS THE FULL AUTHORITY TO ENTER
INTO THIS AGREEMENT ON BEHALF OF SAID ENTITY AND ITS OWNERS. THE UNDERSIGNED
FURTHER ACKNOWLEDGES HAVING RECEIVED A FULLY COMPLETED COPY OF THIS AGREEMENT
AND PERSONALLY GUARANTEES ITS PERFORMANCE.


                                                                                                Seller      Seller
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Seller                                              Broker

                                                    M&A Business Advisors RED# 32417
Print name and Title      Date

                                                    Print Name of Broker/Agent            Date
Signature

                                                    Signature of Broker/Agent             License #
Print name and Title      Date

                                                    Broker or Office Manager              Date
Signature




                                                                                 Seller    Seller
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                            DUTIES OWED BY A NEVADA REAL ESTATE LICENSEE
              This form does not constitute a contract for services nor an agreement to pay compensation.

In Nevada, a real estate licensee is required to provide a form setting for the duties owed by the licensee to:
    a.) Each party for whom the licensee is acting as an agent in the real estate transaction, and
    b.) Each unrepresented party to the real estate transaction, if any.
Licensee: The licensee in the real estate transaction is Samuel Crampton whose license number is 145968/Business
Broker Permit #6957 . The Licensee is acting for [client’s name(s)] Afrayed End Productions, Ltd. who is/are the
Seller/Landlord;     Buyer/Tenant.
Broker: The broker is Katrina Loftin , whose company is M&A Business Advisors.

Licensee’s Duties Owed to All Parties:
A Nevada real estate licensee shall:
    1. Not deal with any party to a real estate transaction in a manner which is deceitful, fraudulent or dishonest.
    2. Exercise reasonable skill and care with respect to all parties to the real estate transaction.
    3. Disclose to each party to the real estate transaction as soon as practicable:
       a. Any material and relevant facts, data, or information which licensee knows, or with reasonable care and
           diligence the licensee should know, about the property.
       b. Each source from which the licensee will receive compensation.
    4. Abide by all other duties, responsibilities and obligations required of the licensee in law or regulations.

Licensee’s Duties Owed to the Client:
A Nevada real estate licensee shall:
    1. Exercise reasonable skill and care to carry out the terms of the brokerage agreement and the licensee’s duties in
        the brokerage agreement;
    2. Not disclose, except to the licensee’s broker, confidential information relating to a client for 1 year after the
        revocation or termination of the brokerage agreement, unless licensee is required to do so by court order or the
        client gives written permission;
    3. Seek a sale, purchase, option, rental or lease of real property at the price and terms stated in the brokerage
        agreement or at a price acceptable to the client;
    4. Present all offers made to, or by the client as soon as practicable, unless the client chooses to waive the duty of the
        licensee to present all offers and signs a waiver of the duty on a form prescribed by the Division;
    5. Disclose to the client material facts of which the licensee has knowledge concerning the real estate transaction;
    6. Advise the client to obtain advice from an expert relating to matters which are beyond the expertise of the
        licensee; and
    7. Account to the client for all money and property the licensee receives in which the client may have an interest.
Duties Owed By a broker who assigns different licensees affiliated with the brokerage to separate parties.
Each licensee shall not disclose, except to real estate broker, confidential information relating to the client.

Duties Owed By a broker who assigns different licensees affiliated with the brokerage to separate parties.
Each licensee shall not disclose, except to the real estate broker, confidential information relating to the client.

Licensee Acting for Both Parties:
You understand that the licensee ______________ (initial) may or _____________(initial) may not, in the future act for
two or more parties who have interests adverse to each other. In acting for these parties, the licensee has a conflict of
interest. Before a licensee may act for two or more parties, the licensee must give you a “Consent to Act” form to sign.

         I/We acknowledge receipt of a copy of this list of licensee duties, and have read and understand
         the disclosure.

         Seller/Landlord                  Date        Time        Buyer/Tenant                      Date      Time

         Seller/Landlord                  Date        Time        Buyer/Tenant                       Date     Time
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'DWH                                         7LPH                       'DWH                                         7LPH
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                        EXHIBIT 2




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 6   Proposed Attorneys for Debtor,
     Afrayed End Productions, Ltd.
 7

 8                              UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEVADA
 9

10                                                      Case No.: BK-N-20-51050-BTB
      In re:                                            Chapter 11
11
      AFRAYED END PRODUCTIONS,                          DECLARATION OF KATRINA
12    LTD.                                              LOFTIN IN SUPPORT OF EX PARTE
13                                                      APPLICATION TO EMPLOY
                           Debtor.                      BUSINESS BROKER
14

15
                I, KATRINA LOFTIN, under Bankruptcy Rule 2014, declare under penalty of perjury:
16
               1.   I am over the age of 18 and, except as otherwise indicated, I have personal knowledge
17
     of the matters set forth below. I am competent to testify to same and present this Declaration in
18
     support of the Debtor’s Ex Parte Application to Employ Business Broker.
19
               2.   I am the Co-Founder and Managing Partner of the Reno Office of M&A Business
20
     Advisors (“MABA”), Real Estate Division Licnese (“RED”) # 32417 and Business Broker
21
     License (“BB”) # 130.
22
               3.   I have been involved in business sales and acquisitions since 1992. During this
23
     timeframe, I have participated in numerous transactions involving a wide variety of businesses.
24
     See Exhibit “A” hereto.
25
               4.   MABA agents and I are familiar with the Debtor and its business. On November 18,
26
     2020, MABA presented a well-qualified buyer to purchase the Debtor’s assets. That time neither
27
     I, nor any agent at MABA were aware of the Debtor’s emergency bankruptcy filing.
28
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 1          5.   MABA is willing to accept post-bankruptcy employment by the Debtor, on the terms

 2   set forth in the Application.

 3          6.   To the best of my knowledge, information, and belief, neither MABA, nor any of its

 4   agents, members, associates, or employees have any connections with the debtor, creditors, or

 5   any other party in interest, their respective attorneys and accountants, the United States trustee,

 6   or any person employed in the office of the United States trustee that is adverse to the Trustee,

 7   other than the following:

 8               a. MABA agents represented the Debtor and potential buyers in connection in a dual

 9                  agency capacity with respect to pre-bankruptcy sale efforts.

10               b. MABA would act in a dual-agency capacity in connection with the post-

11                  bankruptcy sale or other transaction involving the Debtor’s assets. However,

12                  different MABA agents would represent the Debtor and any potential buyer.

13                  Agent Sam Crampton, RED # 145968 and BB # 6957, would represent the Debtor

14                  exclusively; and Agent Kurt Okraski, RED # 190615 and BB # 7078, would

15                  represent the buyer exclusively.

16          7.   Based on these facts, I believe MABA and its agents, members, associates, and

17   employees are disinterested persons within the meaning of the 11 U.S.C. §§ 101(14) and 327(a).

18           I, KATRINA LOFTIN, declare under penalty of perjury under the laws of the United

19   States of America that the foregoing is true and correct.

20           EXECUTED ON: December , 2020.

21

22                                                     By: V.DWULQD/RIWLQ
                                                          KATRINA LOFTIN
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Katrina Loftin, &%,0 $0,
Founder/Managing Partner
CA BRE#01192645/NV RED#32417/ NV BB#130
Katrina Loftin is the co-founder and Managing Partner of M&A Business Advisors
Nevada office and has been involved in business sales and acquisitions since 1992.
Over the years, she has handled numerous transactions including privately held
businesses of all kinds including manufacturing, distribution, automotive
dealerships and auto related businesses, franchises, restaurants, service, and
hospitality companies.
Katrina previously has owned and operated multiple businesses including an
automobile dealership, auto pawn business, a motel and also owns the Nevada
M&A Business Advisors office.

Katrina is a member of the M&A Source, International Business Brokers
Association (IBBA), California Association of Business Brokers (CABB), &RPPHUFLDO
5HDO (VWDWH :RPHQ &5(: , and a member of the Northern Nevada Executive
Council (NNEC). Additionally, she has served on the Board of Directors and is a
former officer of the Chamber of Commerce and has served on many other
community organizations. With her father, she cofounded and chaired of the River
City Classic Car Show, which raised funds for local charities. Katrina has also served
on the Business License Task Force Committee for the City of Reno and the
Business Broker License committee for the State of Nevada. .DWULQD ZDV WKH
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Over her 2 years in Business brokerage, Katrina has earned numerous
distinctions including Top Listing Agent and Top Producer many times over and
every year since 2004. In 2017, Loftin was awarded the Deal Maker of the Year for
Nevada from the M&A Insider – the M&A Insider Award is awarded to one
individual in each state based on the number and size of Merger & Acquisitions
transactions they have completed. .DWULQDLVD&HUWLILHG%XVLQHVV%URNHU &%, DQGD
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   Case 20-51050-btb      Doc 22    Entered 12/03/20 17:02:15      Page 17 of 34




COMMENTS
“I found Katrina to be knowledgeable, organized, thorough, and her follow-up
was excellent. She was a pleasure to deal with and I would recommend her
highly.”
                                                       Brett Coleman, Owner
                                                      Mercedes Benz of Reno


“Katrina is a very professional tenacious lady. Does everything she says and
much more. A very positive experience.”

                              Stan & Lynn Kinder Former President & Vice President
                                                       Sierra Chemical Company


 “Katrina demonstrated at every step of the way thorough knowledge of her
business as well as her technical expertise. Her patience as well as tenacity was
helpful in establishing very early on a relationship based on mutual trust and
respect.”
                                               -Terry Vander Ploeg, Heinz Roesch,
                                                       Dave Ogren Buyers & Seller
                                                         – Omed of Nevada, LLC


“Your hard work, professionalism, and tenacity really made this deal happen. I
know it was not an easy accomplishment. Every step you were great from the
start with prospecting to the end when all of us got a little impatient with the
demands of others, your patience and expertise really paid off. “
                                                      Mike Winkel, former owner
                                                                 Sierra Freightliner


“As a CPA, I spent over 30 years in mergers and acquisitions for public and
private companies and certainly recognize technical expertise and a
professional job “well done”. Katrina exceeded my expectations in all areas.”

                                                               Burt Koenig, President
                                                                Mountain Papa, Inc.


“You and your staff have probably added 10 years to our lives. I believe in these
uncertain times it was an excellent job all around. I will continue to send you
leads on anyone I hear that’s interested in buying or selling.”
                                                                -Jerry Cail, President
                                               Bear Industries Printing & Publishing
                                                                                                                         Dealmaker
                                   Case 20-51050-btb                                      Doc 22                   Entered 12/03/20 17:02:15                             Page 18 of 34




                                                                                                        of the Year - Nevada

                                                                                                          KATRINA LOFTIN-WINKEL

                                                                                                                                 Katrina is a member of the M&A Source, International Business
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                                                                                                                                 (NBBA) and a member of the Northern Nevada Executive Council
                                                                                                                                 (NNEC). Additionally, she has served on the Board of Directors
                                                                                                                                 and is a former ofﬁcer of the Chamber of Commerce and has
                                                                                                                                 served on many other community organizations. With her father,
                                                                                                                                 she cofounded and chaired of the River City Classic Car Show,
                                                                                                                                 which raised funds for local charities. Katrina has also served
                                                                                                                                 on the Business License Task Force Committee for the City of
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Katrina Loftin-Winkel is the co-founder and Managing Partner of                                                                  Over her 25 years in Business brokerage, Katrina has earned
M&A Business Advisors. Katrina has been active in the industry                                                                   numerous distinctions including Top Listing Agent and
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Letter of Recommendation:



          When my wife and I decided to pursue the dream of owning our own Veterinary hospital we
reached out to Katrina Loftin Winkel of M&A Business Advisors. From the first call, Katrina jumped into
action on our behalf and did not waiver until we were successfully the proud owners of our new
business. When the process began, there were no such businesses available for sale in our market.
Winkel took a proactive approach, reaching out to every practice in the area and created multiple
opportunities for us to explore. Not only did M&A Business Advisors negotiate the purchase of the
business between Buyer and Seller, they also facilitated the acquisition of the real estate component as
well. Due to the particular nature of this business, the transaction was very complex requiring the
simultaneous purchase of multiple LLC’s and land parcels while involving multiple lenders. Katrina
orchestrated the entire process working in conjunction with the title and escrow companies, multiple
lenders, insurance companies and numerous local agencies. There were hurdles and road blocks along
the way that with her years of experience, Winkel provided solutions to with a creative, professional
approach. Without the assistance of M&A Business Advisors this dream would not have become a
reality! In addition, Katrina was able to refer us to numerous extremely competent and respected
service providers such as accountants/CPA’s, business attorneys, insurance and payroll providers. This
not only ensured a successful transaction, but also the confidence of knowing we were structured in the
appropriate way to minimize both our liability and tax exposure. I HIGHLY recommend using the services
of Katrina Loftin Winkel and M&A Business Advisors to ensure the success of your future endeavors!



    -   Randy Roesch, CRS
        Owner – Mountain View Animal Hospital & Holistic Pet Care



    -   Dr. Sarah Kalivoda, DVM
        Owner / Manager – Mountain View Animal Hospital & Holistic Pet Care
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                     FERNLEY PHYSICAL THERAPY
                      20 North West Street, Fernley NV 89508




Katrina Loftin-Winkel assisted us with the purchase of a business in 2017. From
the initial contact until we closed on the purchase, Katrina was fully engaged and
kept us informed of the progress every step of the way. While we were in the
process of negotiating this deal, we were living in South California, but Katrina
made sure that we had access to and understood all Nevada State requirements
governing this transaction. She was able to steer us clear of any issues and
worked with us to ensure that we had the applicable financing and that all the
documentation was completed in a timely manner. Katrina is extremely
knowledgeable and approachable. She was always willing to answer any
questions we had, and helped make this business purchase a complete success.



Rudi & Lynda Lautz
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Katrina helped ensure a seamless purchase transaction for my first business. She skillfully managed all
of the technical and personal elements in order to keep both parties needs met throughout the
process. When I purchased a second company the seller didn’t want to use a broker and we collectively
spent more in lost time and expenses because of it! Long story short, I’m never entering into a business
purchase process without Katrina as my broker! She’s incredible and I can’t say enough good things
about her and our experience working with her.

Britney Schmid
Dale Carnegie Training of San Diego & San Francisco
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August 16, 2016

Katrina Loftin-Winkel
BTI Business Group
Reno, Nevada

Katrina Loftin-Winkel is my business broker who worked for almost a year
to help me find and purchase a small business. Throughout this search, I
was forced to work with other brokers as well, not because I wanted to, but
because some of the businesses I investigated were out of the area or out
of state and she was unable to represent me. As a result, this put me in
contact with many brokers who were not of the caliber that Katrina is. She
is by far, the absolute BEST! I never felt that she was trying to make a
quick sale, or that she was pushing me into a business that wasn’t right for
me.

She got to know me in a way that allowed her to advise me on companies
that were a ‘good fit’. She is so well-connected in this geographical area
that she was aware of businesses that were about to come onto the market
in the near future. In fact, she was able to do just that with the business that
I eventually bought.

Throughout the process of hunting for businesses, Katrina would arrange
meetings with the owners of the companies that I was interested in. She
would arrive at these meetings with well-researched reports on the
company, it’s valuation and a file of pertinent information that she had
compiled.

Using her vast knowledge and years of experience in this business, she
was able to help me to understand how companies are evaluated in terms
of purchase price. She did a detailed study to help justify my offer to the
seller.

After the contract was accepted, her real work began. I didn’t realize all of
the things that could have gone wrong, and did. She informed me that it is
common for this to happen during the due-diligence phase and this can put
the deal into jeopardy. This is an emotional time for both buyer and seller,
and Katrina was able to put on her ‘shrink’ hat, and by using her intuitive
senses, she managed both personalities and was able to smooth things
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over. She really was excellent at working with the buyer (myself) and the
seller to keep the deal together. Honestly, I’ve never seen anything like it!

The purchase was a very complicated process for me, despite my having
been a business owner before. Katrina walked me through each step with a
calmness, or Zen, which was crucial for me. She kept me updated and
informed, and I never had to ask her how the purchase was going. She was
always quick to respond to my emails, phone calls and text messages. And
most of all, she was incredibly patient with my hundreds of questions that I
asked over and over and over again. The process was intimidating, yet she
was always reassuring.

Katrina has good relationships with SBA (Small Business Admin) lenders
and was therefore able to work closely with my lender so that the deal was
properly structured in order to satisfy all of the SBA requirements.

After the deal was closed, this is not the end of the broker-client
relationship for Katrina. She has encouraged me to contact her for the vast
resources she has, as well as for any business questions I may have. She
is wired into the area’s business community and has a long list of
professionals that she works with and refers: accountants, attorneys,
lenders, escrow companies, business appraisers, etc.

She also does ongoing educational events and seminars and is often a
guest on KOH 780 ‘Bosna on Business’.

Buying a business is not for the faint of heart. It took a year of my life, and it
probably took a year off my life. But Katrina made it all worthwhile. I am
very happy with my purchase and I can’t imagine having gone through this
experience with anyone else.


Sincerely,

Brad Moseley
Master Fasteners Corp.
brad@masterfasteners.com
775-852-7100
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                                     K & KG Investments, LLC




December 31, 2012


Katrina Loftin-Winkel
BTI Group
10659 Professional Circle
Suite B
Reno, NV 89510


Dear Katrina,

Thank you your assistance in purchasing Massage Envy Spa in North Reno. This was our second
transaction with you and BTI, and we have completed many more without Brokers assistance. The
transaction sailed through escrow and franchising easily and quickly and we appreciated the hand
holding when needed. The due diligence material was delivered timely and escrow and closing
procedures were managed very efficient. The entire process was handled extremely professional and I
look forward to working with you again in the future.


Sincerely,



Klaus Grimm
Managing Member
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                                                Jeff Hastings
                                              President / CEO
                                        ARCpoint Labs Sacramento, CA




“If you are like me, you like to hear some feedback after you refer folks to your friends. In that spirit, I
want you to know about our experience with Bill Garcia and Katrina Loftin-Winkel in helping us sell our
business. In a word, they were fantastic. Absolutely exceeded expectations in every possible way.

We heard it takes a year to sell a business. Bill and Katrina produced an offer in one week and a back-up
offer a day later.

We were told by our franchisor that our business was worth far less than our asking price. Bill and
Katrina produced a full price offer.

Others told us that we would need to carry back financing for the buyers. Bill and Katrine got us an all-
cash, up-front deal.

We were worried that our troublesome franchisor might screw up the deal. Bill and Katrina were able to
handle every roadblock that the franchisor threw at us. They even handled the bulk sale so that the
County’s tax impounds were released smoothly.

In this age of evaporating customer service, it is an absolute joy to work with people who not only meet,
but actually exceed, expectations. Thank you for referring Bill and Katrina to help us sell our
business. Based on our experience, you can refer them to others with 100% confidence.”

Best Regards,

Jeff Hastings
President / CEO
ARCpoint Labs Sacramento, CA
